             Case 19-01487-JMC-7A                         Doc 156         Filed 01/26/22               EOD 01/26/22 15:19:09                    Pg 1 of 8

                                                          Form 1
                                      Individual Estate Property Record and Report                                                                   Page: 1-1

                                                       Asset Cases
Case No.:    19-01487-JMC-7A                                                            Trustee Name:        (340210) John J. Petr
Case Name:       BWGS, LLC                                                              Date Filed (f) or Converted (c): 03/13/2019 (f)
                                                                                        § 341(a) Meeting Date:         06/24/2019
For Period Ending:      12/31/2021                                                      Claims Bar Date:        12/30/2019

                                  1                              2                     3                        4                    5                    6

                          Asset Description                   Petition/        Estimated Net Value       Property Formally     Sale/Funds            Asset Fully
               (Scheduled And Unscheduled (u) Property)     Unscheduled       (Value Determined By          Abandoned        Received by the      Administered (FA)/
                                                               Values                Trustee,               OA=§554(a)           Estate            Gross Value of
                                                                             Less Liens, Exemptions,         abandon.                             Remaining Assets
  Ref. #                                                                        and Other Costs)

    1       JPM Chase Operating Account                        16,400.00                        0.00                                     0.00                          FA

    2       JPM Chase cash collateral account                  30,831.98                        0.00                                     0.00                          FA

    3       Security Deposit EV Properties                       2,700.00                       0.00                                     0.00                          FA

    4       Security Deposit COLFIN                            10,000.00                        0.00                                     0.00                          FA

    5       Security Deposit Liberty Properties LLC              7,900.00                       0.00                                     0.00                          FA

    6       Security Deposit AH & SH, LLC                      33,000.00                        0.00                                     0.00                          FA

    7       Security Deposit WW-Mass LLC                         9,000.00                       0.00                                     0.00                          FA

    8       Accounts receivable                               800,000.00                        0.00                                     0.00                          FA

    9       Office furniture, fixtures, equip &                 Unknown                         0.00                                     0.00                          FA
            collectibles

   10       Machinery, equipment and vehicles                   Unknown                         0.00                                     0.00                          FA

   11       11605 E. 55th Ave., Denver, CO leased               Unknown                         0.00                                     0.00                          FA
            warehouse

   12       4045 Perimeter West Drive, Charlotte NC             Unknown                         0.00                                     0.00                          FA
            leased warehouse

   13       18201 NE Portal Way, Portland OR                    Unknown                         0.00                                     0.00                          FA
            leased warehouse

   14       5335 W. 48th Ave., Denver CO leased                 Unknown                         0.00                                     0.00                          FA
            Sales/Admin offices

   15       7530 W. Sunnyview Ave., Visalia CA real             Unknown                         0.00                                     0.00                          FA
            estate

   16       1410 Hancel Parkway, Mooresville IN                 Unknown                         0.00                                     0.00                          FA
            real estate

   17       Internet domain                                     Unknown                         0.00                                     0.00                          FA

   18       Customer lists                                      Unknown                         0.00                                     0.00                          FA

   19       Cause of Action against Martin Heydt and            Unknown                 728,000.00                                       0.00             728,000.00
            AH & SH

   20       Klehr Harrison Harvey & Branzburg -                12,500.00                   12,500.00                                12,500.00                          FA
            return of retainer (u)

   21       Fox Farm Soil & Fertilizer (u)                      Unknown                    35,000.00                                35,000.00                          FA

   22       Preferential transfer claims (u)                  500,000.00                   64,865.21                                64,865.21                          FA

   23       Potential fraudulent transfer claims (u)        25,000,000.00            25,000,000.00                                       0.00         25,000,000.00

   24       Possible insurance premium rebates (u)                   0.00                       0.00                                 6,093.25                          FA
              Case 19-01487-JMC-7A                         Doc 156         Filed 01/26/22               EOD 01/26/22 15:19:09                    Pg 2 of 8

                                                           Form 1
                                       Individual Estate Property Record and Report                                                                   Page: 1-2

                                                        Asset Cases
Case No.:    19-01487-JMC-7A                                                             Trustee Name:        (340210) John J. Petr
Case Name:        BWGS, LLC                                                              Date Filed (f) or Converted (c): 03/13/2019 (f)
                                                                                         § 341(a) Meeting Date:         06/24/2019
For Period Ending:       12/31/2021                                                      Claims Bar Date:        12/30/2019

                                   1                              2                     3                        4                   5                     6

                           Asset Description                   Petition/        Estimated Net Value       Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled       (Value Determined By          Abandoned        Received by the      Administered (FA)/
                                                                Values                Trustee,               OA=§554(a)           Estate            Gross Value of
                                                                              Less Liens, Exemptions,         abandon.                             Remaining Assets
  Ref. #                                                                         and Other Costs)

   25       Possible breach of fiduciary duty claims                  1.00                       0.00                                     0.00                     0.00
            (u)

  25        Assets Totals (Excluding unknown values)        $26,422,332.98          $25,840,365.21                              $118,458.46           $25,728,000.00



Major Activities Affecting Case Closing:



                                Reached $210,000 settlement in the adversary against Kirkland & Ellis; motion to approve is pending. The
                                remaining adversary against BMS Harris Bank and Sun Capital Partners is awaiting ruling on Defendants'
                                motion to dismiss.
Initial Projected Date Of Final Report (TFR): 12/31/2021                      Current Projected Date Of Final Report (TFR):              12/31/2023


                      01/26/2022                                                              /s/John J. Petr
                           Date                                                               John J. Petr
              Case 19-01487-JMC-7A                       Doc 156         Filed 01/26/22            EOD 01/26/22 15:19:09                          Pg 3 of 8

                                                                   Form 2
                                                                                                                                                   Page: 2-1
                                                   Cash Receipts And Disbursements Record
Case No.:                  19-01487-JMC-7A                             Trustee Name:                       John J. Petr (340210)
Case Name:                 BWGS, LLC                                   Bank Name:                          Mechanics Bank
Taxpayer ID #:             **-***2259                                  Account #:                          ******5666 Checking Account
For Period Ending:         12/31/2021                                  Blanket Bond (per case limit):      $22,684,758.00
                                                                       Separate Bond (if applicable):      N/A

    1            2                        3                                    4                                 5                    6                    7

  Trans.    Check or           Paid To / Received From     Description of Transaction       Uniform          Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code          $                      $


              Account
                                  Balance Forward                              0.00
                       0                      Deposits                         0.00            0                     Checks                                    0.00
                       0          Interest Postings                            0.00            0          Adjustments Out                                      0.00
                                              Subtotal                         0.00            0            Transfers Out                                      0.00
                       0            Adjustments In                             0.00                                    Total                                   0.00
                       0                Transfers In                           0.00
                                                 Total                         0.00


                                                                                        Page Subtotals:              $0.00                $0.00




{ } Asset Reference(s)                                                                                                       ! - transaction has not been cleared
              Case 19-01487-JMC-7A                            Doc 156             Filed 01/26/22                EOD 01/26/22 15:19:09                                Pg 4 of 8

                                                                    Form 2
                                                                                                                                                                      Page: 2-2
                                                    Cash Receipts And Disbursements Record
Case No.:                  19-01487-JMC-7A                                     Trustee Name:                            John J. Petr (340210)
Case Name:                 BWGS, LLC                                           Bank Name:                               People’s United Bank
Taxpayer ID #:             **-***2259                                          Account #:                               ********1770 Checking Account
For Period Ending:         12/31/2021                                          Blanket Bond (per case limit):           $22,684,758.00
                                                                               Separate Bond (if applicable):           N/A

    1            2                         3                                            4                                     5                       6                       7

  Trans.    Check or           Paid To / Received From             Description of Transaction            Uniform          Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                                     Tran. Code          $                         $

 09/18/19     {20}         Klehr Harrison Harvey Branzburg    Return of attorney fees paid within        1241-000             12,500.00                                           12,500.00
                           LLP                                preference period
 09/25/19    10101         Kroger, Gardis & Regas, LLP        Storage space rent pursuant to             2410-000                                         1,965.00                10,535.00
                                                              7/10/19 Order
 10/23/19    10102         Kroger, Gardis & Regas, LLP        Storage space rent pursuant to             2410-000                                          655.00                  9,880.00
                                                              7/10/19 Order
 11/20/19    10103         Kroger, Gardis & Regas, LLP        Storage space rent pursuant to             2410-000                                          655.00                  9,225.00
                                                              7/10/19 Order
 12/04/19     {21}         Foxfarm Soil & Fertilizer Company Preferential transfer                       1241-000             35,000.00                                           44,225.00
 01/10/20    10104         Kroger, Gardis & Regas, LLP        Storage space rent pursuant to             2410-000                                         1,965.00                42,260.00
                                                              7/10/19 Order
 01/31/20     {22}         American Express Travel Related    Preference claim settlement                1241-000                 9,743.00                                        52,003.00
                           Services Company, Inc.
 03/04/20     {24}         Basic                              Refund of unused portion of                1229-000                 6,093.25                                        58,096.25
                                                              COBRA insurance premiums
 03/06/20     {22}         C.H. Robinson International Inc.   Settlement of preference claim             1241-000                 2,500.00                                        60,596.25
 03/11/20     {22}         Konica Minolta Business Solutions Preference claim                            1241-000             45,122.21                                       105,718.46
                           U.S.A., Inc.
 03/25/20                  Check #10105 to pay from           Check paid on separate account             2410-000                                     -1,310.00               107,028.46
                           account #xxxxxx1770                after bank transitioned to different
                                                              service provider
 03/25/20    10105         Kroger, Gardis & Regas, LLP        Storage space rent pursuant to             2410-000                                         1,310.00            105,718.46
                                                              7/10/19 Order
 03/31/20                  United Bank                        Bank and Technology Services               2600-000                                           84.48             105,633.98
                                                              Fee
 04/01/20                  To Account # xxxxxx1770            Transfer of funds due to partner           9999-000                                    105,633.98                        0.00
                                                              bank servicer transition


              Account
                                   Balance Forward                                       0.00
                       6                       Deposits                         110,958.46                  5                      Checks                                  6,550.00
                       0           Interest Postings                                     0.00               1          Adjustments Out                                        84.48
                                               Subtotal                         110,958.46                  1            Transfers Out                                  105,633.98
                       1              Adjustments In                                 1,310.00                                        Total                              112,268.46
                       0                 Transfers In                                    0.00
                                                  Total                         112,268.46


                                                                                                     Page Subtotals:                $0.00                  $0.00




{ } Asset Reference(s)                                                                                                                       ! - transaction has not been cleared
              Case 19-01487-JMC-7A                           Doc 156             Filed 01/26/22                EOD 01/26/22 15:19:09                              Pg 5 of 8

                                                                    Form 2
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                                                    Cash Receipts And Disbursements Record
Case No.:                  19-01487-JMC-7A                                    Trustee Name:                            John J. Petr (340210)
Case Name:                 BWGS, LLC                                          Bank Name:                               People’s United Bank
Taxpayer ID #:             **-***2259                                         Account #:                               ******1770 Checking Account
For Period Ending:         12/31/2021                                         Blanket Bond (per case limit):           $22,684,758.00
                                                                              Separate Bond (if applicable):           N/A

    1            2                        3                                            4                                      5                    6                       7

  Trans.    Check or           Paid To / Received From           Description of Transaction             Uniform          Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                    Tran. Code          $                       $

 04/01/20                  Transfer of Funds from            Acquisition transfer out – Bank            9999-000             105,633.98                                    105,633.98
                           Account#xxxxxxxx1770              servicer
 04/02/20                  Check #10105 written on account   Check paid on separate account             2410-000                                       1,310.00            104,323.98
                           #xxxxxxxx1770                     after bank transitioned to different
                                                             service provider
 04/22/20                  TRANSFER TO DEPOSIT               TRANSFER TO DEPOSIT                        9999-000                                  104,323.98                          0.00
                           SYSTEM ACCOUNT ******1965         SYSTEM ACCOUNT ******1965


              Account
                                   Balance Forward                                      0.00
                       0                      Deposits                                  0.00               0                      Checks                                       0.00
                       0           Interest Postings                                    0.00               1          Adjustments Out                                   1,310.00
                                              Subtotal                                  0.00               1            Transfers Out                                104,323.98
                       0             Adjustments In                                     0.00                                        Total                            105,633.98
                       1                Transfers In                           105,633.98
                                                 Total                         105,633.98


                                                                                                    Page Subtotals:               $0.00                 $0.00




{ } Asset Reference(s)                                                                                                                    ! - transaction has not been cleared
              Case 19-01487-JMC-7A                    Doc 156            Filed 01/26/22            EOD 01/26/22 15:19:09                                Pg 6 of 8

                                                                Form 2
                                                                                                                                                         Page: 2-4
                                                Cash Receipts And Disbursements Record
Case No.:              19-01487-JMC-7A                                 Trustee Name:                      John J. Petr (340210)
Case Name:             BWGS, LLC                                       Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***2259                                      Account #:                         ******0239 Checking Account
For Period Ending:     12/31/2021                                      Blanket Bond (per case limit):     $22,684,758.00
                                                                       Separate Bond (if applicable):     N/A

    1            2                     3                                       4                                 5                       6                       7

  Trans.    Check or       Paid To / Received From        Description of Transaction        Uniform         Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                        Tran. Code         $                          $

 04/22/20              Transition Transfer Credit     Transition Transfer Credit            9999-000            104,323.98                                       104,323.98
 04/30/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                          166.95             104,157.03
                                                      Fee
 05/12/20    30106     Kroger Gardis & Regas LLP      Storage space rent pursuant to        2410-000                                         1,310.00            102,847.03
                                                      7/10/19 Order
 05/19/20     {22}     Lynn D'Elia Temes & Stanczyk   Settlement of preference claim        1241-000                 7,500.00                                    110,347.03
                                                      with Air Tiger Express USA Inc.
                                                      per 5/7/20 Order
 05/23/20    30107     Kroger, Gardis & Regas, LLP    Per 5/18/20 Order for interim         3120-000                                         3,324.46            107,022.57
                                                      expenses
 05/29/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                          163.96             106,858.61
                                                      Fee
 06/17/20    30108     Kroger Gardis & Regas LLP      Storage space rent pursuant to        2410-000                                          655.00             106,203.61
                                                      7/10/19 Order
 06/28/20    30109     Kroger, Gardis & Regas, LLP    Attorney for Trustee fees per         3110-000                                     86,710.40                   19,493.21
                                                      6/26/20 Order (Doc. 115)
 06/30/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                          182.04                 19,311.17
                                                      Fee
 07/31/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           31.89                 19,279.28
                                                      Fee
 08/31/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           29.78                 19,249.50
                                                      Fee
 09/02/20    30110     Kroger, Gardis & Regas LLP     Storage space rent pursuant to        2410-000                                         1,965.00                17,284.50
                                                      7/10/19 Order (3 months)
 09/30/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           30.62                 17,253.88
                                                      Fee
 10/16/20    30111     Kroger, Gardis & Regas LLP     Storage space rent pursuant to        2410-000                                          655.00                 16,598.88
                                                      7/10/19 Order
 10/30/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           27.33                 16,571.55
                                                      Fee
 11/30/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           25.60                 16,545.95
                                                      Fee
 12/23/20    30112     Kroger, Gardis & Regas, LLP    Storage rent for Oct, Nov and Dec     2410-000                                         1,965.00                14,580.95
                                                      2020
 12/31/20              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           29.09                 14,551.86
                                                      Fees
 01/29/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           23.17                 14,528.69
                                                      Fees
 02/05/21    30113     Kroger, Gardis & Regas LLP     January 2021 Storage space rent       2410-000                                          655.00                 13,873.69
                                                      pursuant to 7/10/19 Order
 02/26/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           21.24                 13,852.45
                                                      Fees
 03/31/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           24.42                 13,828.03
                                                      Fees
 04/02/21    30114     Kroger, Gardis & Regas LLP     Storage space rent pursuant to        2410-000                                          655.00                 13,173.03
                                                      7/10/19 Order
 04/30/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           21.56                 13,151.47
                                                      Fees
 05/28/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           19.67                 13,131.80
                                                      Fees
 06/25/21    30115     Kroger Gardis & Regas LLP      Storage space rent pursuant to        2410-000                                         1,965.00                11,166.80
                                                      7/10/19 Order
 06/30/21              Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                           23.04                 11,143.76
                                                      Fees

                                                                                        Page Subtotals:     $111,823.98              $100,680.22


{ } Asset Reference(s)                                                                                                          ! - transaction has not been cleared
              Case 19-01487-JMC-7A                        Doc 156            Filed 01/26/22              EOD 01/26/22 15:19:09                             Pg 7 of 8

                                                                    Form 2
                                                                                                                                                            Page: 2-5
                                                    Cash Receipts And Disbursements Record
Case No.:                  19-01487-JMC-7A                                Trustee Name:                          John J. Petr (340210)
Case Name:                 BWGS, LLC                                      Bank Name:                             Metropolitan Commercial Bank
Taxpayer ID #:             **-***2259                                     Account #:                             ******0239 Checking Account
For Period Ending:         12/31/2021                                     Blanket Bond (per case limit):         $22,684,758.00
                                                                          Separate Bond (if applicable):         N/A

    1            2                         3                                      4                                    5                    6                       7

  Trans.    Check or           Paid To / Received From        Description of Transaction          Uniform          Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                              Tran. Code          $                      $

 07/30/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        17.85                 11,125.91
                                                          Fees
 08/27/21    30116         Robinson Park                  Storage rent for July, August and       2410-000                                      1,965.00                 9,160.91
                                                          September 2021
 08/31/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        19.01                  9,141.90
                                                          Fees
 09/30/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        14.86                  9,127.04
                                                          Fees
 10/01/21    30117         Kroger, Gardis & Regas, LLP    October storage rent                    2410-000                                       655.00                  8,472.04
 10/29/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        13.26                  8,458.78
                                                          Fees
 11/05/21    30118         Kroger, Gardis & Regas, LLP    November storage rent                   2410-000                                       655.00                  7,803.78
 11/30/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        13.72                  7,790.06
                                                          Fees
 12/15/21    30119         Kroger, Gardis & Regas, LLP    December storage rent                   2410-000                                       655.00                  7,135.06
 12/31/21                  Metropolitan Commercial Bank   Bank and Technology Services            2600-000                                        12.54                  7,122.52
                                                          Fees


              Account
                                  Balance Forward                                  0.00
                       1                       Deposits                       7,500.00              14                     Checks                             103,789.86
                       0           Interest Postings                               0.00             21          Adjustments Out                                   911.60
                                               Subtotal                       7,500.00               0            Transfers Out                                         0.00
                       0             Adjustments In                                0.00                                      Total                            104,701.46
                       1                Transfers In                       104,323.98
                                                  Total                    111,823.98


                                                                                              Page Subtotals:              $0.00          $4,021.24




{ } Asset Reference(s)                                                                                                             ! - transaction has not been cleared
             Case 19-01487-JMC-7A                      Doc 156    Filed 01/26/22            EOD 01/26/22 15:19:09                  Pg 8 of 8

                                                       Form 2
                                                                                                                                    Page: 2-6
                                       Cash Receipts And Disbursements Record
Case No.:           19-01487-JMC-7A                              Trustee Name:                      John J. Petr (340210)
Case Name:          BWGS, LLC                                    Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:      **-***2259                                   Account #:                         ******0239 Checking Account
For Period Ending: 12/31/2021                                    Blanket Bond (per case limit): $22,684,758.00
                                                                 Separate Bond (if applicable): N/A

                                       Net Receipts:             $118,458.46
                            Plus Gross Adjustments:                     $0.00
                           Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                       $0.00

                                         Net Estate:             $118,458.46




                                                                                                   NET                        ACCOUNT
                                 TOTAL - ALL ACCOUNTS                         NET DEPOSITS    DISBURSEMENTS                   BALANCES
                                 ******5666 Checking Account                            $0.00            $0.00                        $0.00

                                 ********1770 Checking Account                     $110,958.46                   $5,324.48             $0.00

                                 ******1770 Checking Account                               $0.00                 $1,310.00             $0.00

                                 ******0239 Checking Account                            $7,500.00              $104,701.46          $7,122.52

                                                                                   $118,458.46                 $111,335.94          $7,122.52




                 01/26/2022                                              /s/John J. Petr
                    Date                                                 John J. Petr
